Case 3:24-mj-01058-JBT Document1 Filed 02/14/24 Page 1 of 5 PagelD 1

AO (Rev. 5/85) Criminal Complaint

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
UNITED STATES OF AMERICA CRIMINAL COMPLAINT
v. Case No. 3:24-mj-] 658 SRT

GAMALIEL SANCHEZ-HERNANDEZ

I, the undersigned complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief. On or about February 12, 2024, in Duval
County, in the Middle District of Florida, the defendant,

a citizen of Mexico and an alien in the United States, was found unlawfully
present in the United States without first having obtained the consent of the
Attorney General or the Secretary of Homeland Security for the United States
to apply for admission to or re-enter the United States after having been
deported and removed from the United States on or about March 9, 2018,

Agent ™ CS
in violation of Title 8, United States Code, Section 1326. I further state that Iam a Speciak
AZ with the Border Petrol 92
Agent of the Department of HomelandSeeurity, United States terati
(n7_. Enforcement, Homeland-Security Investigations, and that this Complaint is based on the
following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof: Yes OONo

Signature of Complainant

MATTHEW A. ZETTS, JR.

Sworn to before me and subscribed in my presence,

on February 14, 2024 at Jacksonville, Florida
JOEL B. TOOMEY
United States Magistrate Judge JL. 4 J —7

Name & Title of Judicial Officer Signature of Judicial Office
Case 3:24-mj-01058-JBT Document1 Filed 02/14/24 Page 2 of 5 PagelD 2

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Matthew A. Zetts, Jr., being a duly sworn and appointed Border Patrol
Agent for the United States Department of Homeland Security, Customs and Border
Protection, United States Border Patrol, hereby make the following affidavit in
support of a criminal complaint against Gamaliel SANCHEZ-HERNANDEZ:

1. I have been a Border Patrol Agent (BPA) for over 15 years. I have
training and experience in the enforcement of the immigration and nationality laws
of the United States. In addition, I have training and experience in the preparation,
presentation, and service of criminal complaints and arrest warrants.

2. The statements contained in this affidavit are based on my personal
experience and observations as well as the experiences and observations of fellow
Border Patrol Agents and other law enforcement officers as they have described and
communicated them to me. This affidavit does not contain every fact regarding the
investigation, but rather only sufficient facts that I believe establish probable cause
for the filing of this criminal complaint.

3. On February 12, 2024, I was assigned as a Task Force Officer with
Homeland Security Investigations in Jacksonville, Florida. At approximately 7:15
a.m., I was on duty and tasked with responding to the parking lot of Shooters of
Jacksonville, a business located on University Boulevard, to respond to a possible
human smuggling incident involving individuals at that location. At approximately
7:45 a.m., I arrived on scene at Shooters of Jacksonville. I was informed by several

Jacksonville Sheriff's Office (JSO) deputies at the scene that the driver of a particular
Case 3:24-mj-01058-JBT Document1 Filed 02/14/24 Page 3 of 5 PagelD 3

vehicle under investigation had a Georgia driver’s license and all the passengers of
this vehicle claimed to be from Guatemala except for one adult male individual,
whom I subsequently identified as Gamaliel SANCHEZ-HERNANDEZ, who
claimed to be from Mexico. I learned that the vehicle was stopped by JSO on
Interstate Highway 95 and the driver and passengers were brought to this nearby
location to get them off of the highway and ensure their safety.

4. I approached SANCHEZ-HERNANDEZ who was sitting in the back
seat of a JSO vehicle and attempted to speak with him in English. SANCHEZ-
HERNANDEZ indicated that he did not speak English, so I spoke to him in
Spanish. SANCHEZ-HERNANDEZ indicated in substance that he understood me
and spoke the Spanish language. I asked SANCHEZ-HERNANDEZ to write his
name and date of birth on a pad of paper that I offered him. I did this so that I could
check his current immigration status. SANCHEZ-HERNANDEZ wrote his name
and date of birth as follows: “Gamaliel Sanchez Hernandez 9 de Mayo 1995”.

3. I then input SANCHEZ-HERNANDEZ’s fingerprints, name, and date
of birth into the NextGen/e3 biometrics system to verify his immigration status. I
know that this system is routinely used by Border Patrol agents to check and record
the biometric data, including fingerprints, of individuals encountered in the field and
to compare it to other known previously encountered or previously deported
individuals. By using this system, SANCHEZ-HERNANDEZ was identified as
being a citizen of Mexico who had been encountered by U.S. immigration

authorities on at least four previous occasions (March 9, 2018, March 12, 2022,
Case 3:24-mj-01058-JBT Document1 Filed 02/14/24 Page 4 of 5 PagelD 4

January 21, 2024, and January 28, 2024). I then input SANCHEZ-HERNANDEZ's
name, date of birth, federal identification number (FIN), and A-number (Alien
Registration Number) into the U.S. Customs and Border Protection Super Query
database to check for any immigration applications. This check was revealed that
SANCHEZ-HERNANDEZ was illegally present in the United States, and further
that SANCHEZ-HERNANDEZ had no pending immigration documents or
immigration applications that would allow him to legally enter, pass through, or
remain in the United States. SANCHEZ-HERNANDEZ was placed under
administrative arrest and transported to the Jacksonville Border Patrol Station.

6. At the Jacksonville Border Patrol station, I conducted a more thorough
records check on SANCHEZ-HERNANDEZ. I found that SANCHEZ-
HERNANDEZ, with the same name, date of birth, FIN number, and A-number had
previously illegally entered the United States from Mexico on March 9, 2018, had
been ordered removed from the United States on March 9, 2018, and was removed
from the United States to Mexico through the San Ysidro, California Port of Entry
on March 9, 2018. I also observed a photo of SANCHEZ-HERNANDEZ in
electronic records from one of these previous encounters (taken on March 9, 2018)
and this photo matched the appearance of the person whom I arrested, that is,
SANCHEZ-HERNANDEZ. There was no record that SANCHEZ-HERNANDEZ
had ever applied for or received permission from the Attorney General or the
Secretary of Homeland Security for the United States to re-enter the United States

since the time of his last deportation or removal that occurred on March 9, 2018.
Case 3:24-mj-01058-JBT Document1 Filed 02/14/24 Page 5 of 5 PagelD 5

7. Based upon the foregoing facts, I have probable cause to believe and
establish that, on or about February 12, 2024, Gamaliel SANCHEZ-HERNANDEZ
is a citizen of the Mexico who has been found unlawfully present in the United
States without first having obtained the consent of the Attorney General or the
Secretary of Homeland Security for the United States to apply for admission to or re-
enter the United States after having been deported or removed from the United

States, in violation of Title 8, United States Code, Section 1326.

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Matthew A. Zetts, Jr., Border Patrol Agent
United States Border Patrol
Jacksonville, Florida

Sworn to before me this / 7 day of February 2024.

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JOEL B. TOOMEY
United States Magistrate © sadge

